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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               VICTORIA DIVISION

 In re:                                          § Case No. 22-60043
 FREE SPEECH SYSTEMS, LLC                        § Chapter 11 (Subchapter V)
        Debtor.                                  §

     ALEX E. JONES LIMITED OBJECTION TO SHANNON & LEE LLP, MARC
    SCHWARTZ AND SCHWARTZ ASSOCIATES, LLC’S MOTIONS FOR ORDER
       ALLOWING ADMINISTRATIVE EXPENSE CLAIM AND GRANTING
                   RELATED RELIEF [DOC #251 AND #252]

TO THE HONORABLE CHRIS LOPEZ, UNITED STATES BANKRUPTCY JUDGE:

       Alex E. Jones (herein “Jones”) files this Limited Objection (herein the “Limited

Objection”) to the fee and expense Applications of Shannon & Lee, LLP (“Debtor’s Attorneys”)

and Marc Schwartz and Schwartz Associates, LLC, (“Debtor’s CRO”) (the “Fee Applications”) as

follows:

                                          I.
                                PRELIMINARY STATEMENT

       A.      Background of Alex Jones Connection to These Fee Applications

       1.      The Debtor’s attorneys and Debtor’s CRO have served in that position in four

separate but affiliated filings of Chapter 11 cases, the original three cases involving InfoW, LLC,

IWHealth, LLC and Prison Planet TV, LLC (the “Prior Chapter 11 cases”) and the current case of

Free Speech Systems, LLC (“FSS”). In the Prior Chapter 11 cases, shortly after this Court entered

its Orders confirming the withdrawal with prejudice of all of the claims by all Connecticut and

Texas Sandy Hook Plaintiffs then-pending litigation (the “Sandy Hook Litigation”), the Debtors

Attorneys and the Debtor’s CRO commenced an engagement with the Debtor FSS as as it’s

professional legal counsel and financial professional.




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        2.       Jones paid the retainers for the professionals retained in the prior Chapter 11 cases

which fees and retainers for that work was not the subject of any requested Court approval.

Additionally, Jones paid the professional retainers, in part, for these same professionals.

        3.       Jones has also paid, during 2022, significant funds to further the prior Chapter 11

cases, also to fund dramatically increasing litigation costs (both attorney’s fees and expenses and

experts), to otherwise backstop the cash inadequate flow and professional retainers of FSS,

aggregating approximately $10 million (which comprised the bulk of Alex Jones liquidity and

more than 50% of his then net worth, $3 million of which came from the sale of Jones’ homestead).

        4.       Although Jones initiated the financial side of the Chapter 11s filed thus far, neither

he nor his counsel directed or dictated either the Debtors Attorneys or the Debtor’s CRO in any

aspect of their professional work.           Jones’ counsel had considerable input into the Debtors

Attorneys thoughts and direction, unfortunately little of which was either followed or

implemented. To be clear, Jones does not object in any respect to the refusal to implement the

recommendations and requests of Jones’ Counsel, although both Jones and his Counsel did not

agree with (i) the process or progress of the Debtors cases during their prior Chapter 11 cases; or

(ii) the FSS case-decisions regarding the timing of the defense and trial of the Sandy Hook

Litigation, the removals, consideration of claims, bar date issues, withdrawal of the reference,

District Court litigation jurisdiction, and numerous other topics dealing with the process of a

bankruptcy Debtor inundated by litigation claims all set for trial back-to-back on the petition date.1

        B.       Jones Makes No Objection to the Rates or Time Accounting, or the Discount
                 Amount Proposed By Debtors Attorneys


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         Jones references the Motion for Reconsideration and the lengths Debtors Counsel went (including quoting
from privileged communication-emails) to portray and emphasize the difficult decision making the parties’ and
counsel were frequently involved. Nothing in this Objection, however, waives any privileged communication or work
product of any counsel, including Jones Counsel and nothing in this Objection is intended to imply that the debates
and strategy conflicts were anything but strong opinions expressed by competent counsel.


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       5.      This Limited Objection does not complain of the hourly rate charged for the

professional fees of either Debtors Attorneys or Debtor’s CRO nor does this Limited Objection

complain of the accuracy of the accounting for each of their hours, services, and expenses set out

in the Applications.

       6.      This Objection does not complain of the amount of the proposed fee and expense

proposed deduction, or the fee amount (as discounted) by Debtors Attorneys, for the reasons set

out below. As noted above, Debtors Attorneys and Jones counsel had significant and frequent

debate, disagreements, and opinions of the best legal position, strategies, and claims treatment,

importantly, the reduction in fees and the agreement of Jones to those reduced fees, is the result of

a fair compromise reflecting the opposing positions often taken by joint-interest counsel involved

in complex litigation and bankruptcy cases.

       C.      Jones Has No Objection to Rates or Time Accounting of the Debtor’s CRO

       7.      This Limited Objection does not complain of the hourly rate charged for the

professional fees of Debtor’s CRO nor does this Limited Objection complain of the accuracy of

the accounting for the hours, services, and expenses set out in the CRO’s Application. However,

as set out below, Jones does complain of the proposed discounted amount set out in the Debtor’s

CRO Application as exceeding the value to the estate of those professional services.

                                              II.
                                      JONES’ OBJCTIONS

       A.      Limited Objection to the Application of Debtors Attorneys

       8.      The only issue and complaint made by Jones regarding the Debtors Attorneys Fee

application deals with two areas:

               a.      Responsiveness to This Court’s Questions and Concerns and the

Unwarranted Pleading Regarding the U.S. Trustees Office: Immediately upon the filing of the



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FSS Chapter 11 this Court set out on the record and in some detail, two important areas of the

Court’s concern:

                      i.      First, the Court expressed concern regarding the overlap of services

       by the Debtors Attorneys (and the Debtor’s CRO) and the fact that there had been no

       disclosures by either professional of the potential conflict of interest for serving, at the

       same time the winding-down the Prior Chapter 11 cases while at the same time initiating

       and advising if the FSS Chapter 11 could be filed; and

                     ii.      Second, the several FSS Budgeted items that included payment of

       all of Jones out-of-pocket costs to attend the Connecticut trial (an $80,000.00 payment)

       and payment by FSS of all the then-due attorneys’ fees to trial counsel representing both

       Jones and FSS. The Court was concerned that Jones should be shouldering his share of

       these expenses.

       9.      Both of these Court-expressed complaints called for a prompt and thorough

response by Debtors counsel in charge. Neither were responded to. Even more disconcerting than

the lack of a response at all to the Court-expressed concerns (much less thorough and in writing),

was the inflammatory and inaccurate pleadings finally filed by Debtors Counsel to the US Trustee

objection to Debtors Counsel’s retention, effectively reciting the quoted transcript excerpts of the

topics of the Court’s concerns that had never been addressed. Jones believes the offensive

pleadings (and the implications of untruthful and unethical conduct by the US Trustee) that did not

address the Court’s concerns, were counter-productive to any effort to inform the Court of the

basis and commercially reasonableness of the issues raised.

       10.      Finally, Jones did not anticipate either the failure of Debtors counsel to promptly

respond to the Court’s questions would be followed at the hearing by Debtors Attorneys arguments




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and the CRO testimony that all but ignored why the Debtor had proposed the budget items to be

paid, including: (i) that the Debtor has a written employment (and statutory) obligation of

indemnity and that the salary to be paid to Jones had been unilaterally suspended by the Debtor

(such that Jones was furnishing , notwithstanding that Jones produced 100% of the gross revenues

for FSS he had no cash flow or salary to pay his share; (ii) that Jones had paid 100% of FSS legal

fees due shortly before the Chapter 11 filing; (iii) that Jones purchased $400,000.00 in

consignment products to cover the Debtor’s inability to obtain product because the Debtor’s CRO

budgeted a weekly amount that was only 30% of the past 4 years actual need based on actual

income, shutting down new purchase sales for the first 23 days of the FSS Chapter 11 case

(reflecting several million dollars in lost sales); among a number of other matters to be reported to

the Court as part of the Connecticut and Texas status report on the judgments resulting and the

additional costs 100% funded by Jones because of the failure to answer this Court’s concerns.

Finally, Jones has no objection to application of the retainer to the discounted fees and expenses

of Debtors Attorneys but does not agree the payment schedule is reasonable for the current status

of this FSS Chapter 11 case.

               b.      All Fees Paid In All Four Chapter 11 Cases Should Be Fully Disclosed

and Considered By This Court When Determining the Debtors Attorneys Application: Jones

believes that full disclosure of professional compensation should require the disclosure to this

Court of the overall professional fees paid to Debtors Attorneys, including the Prior Chapter 11

cases.

         B.    Limited Objection to the Application of Debtor’s CRO

         11.   Jones generally agrees that the Debtor’s CRO rendered services beneficial to the

estate but does not agree that the amount reflects those benefits. However, Debtor’s CRO created




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or exaggerated operational problems that challenged the ability of FSS to operate at all and stop

salary payments for the employee that furnished 100% of the FSS Income.

               a.     The CRO Was Not An “Operations” CRO and Created Significant
                      Operational Problems

       12.     Initially, it was not until Debtor’s CRO testified before this Court that Marc

Schwartz had served possibly once before as a CRO before accepting this retention as the 4 Debtors

CRO.      Because operations did not become an issue in the Prior Chapter 11 cases before the

Plaintiffs claims were dismissed with prejudice, what did become obvious to Jones by early August

was that the Debtor’s CRO was not an “operations” restructuring officer, but an accounting

restructuring officer. Although the Debtors CRO accounting specialty was clearly needed, the

absence of an experienced operating and budgeting professional for the FSS operations was

significantly missing yet vitally important. As discussed above, Debtor’s CRO did a line-item

cash collateral budget with a specific number for “product purchases” per week (i.e., the

$150,000.00 per week, or gross product purchases annually of $7.8 million!). However, historical

operations indicated six times that amount per week was needed to replace product sales. As a

result, product re-ordering immediately exceeded the budget and re-ordering collapsed in less than

a week as did cash flow along with that collapse. The credit card purchases were received and

banked yet could not be used to re-purchase inventory because they exceeded the budgeted

amount.

       13.     The budget issues created by the grossly incorrect budgeting filings and projections

was only corrected by this Court’s Order in late August, 2022, however, sales did not regain the

pre-Chapter 11 ordering level until well after this Court determined in mid-September, 2022 not

to appoint the Debtor’s CRO as proposed.




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       14.     Jones believes the requested fees exceed the value to the estate of the services

actually received.

       15.     Finally, Jones has no objection to application of the retainer to the approved fees

and expenses of Debtors Attorneys found by this Court but does not agree the proposed payment

schedule is reasonable for the current status of this FSS Chapter 11 case.

               b.       All Fees Paid In All Four Chapter 11 Cases Should Be Fully Disclosed
                        and Considered By This Court When Determining the Debtor’s CRO

       16.     Jones believes that full disclosure of professional compensation should require the

disclosure to this Court of the overall professional fees paid to Debtor’s CRO, including the Prior

Chapter 11 cases.

                                             III.
                                         CONCLUSION

       For the foregoing reasons, Jones requests these objections be considered and that

compensation be determined in this Court’s judgment, and that Jones be granted such other relief

the Court deems just.

Dated: November 14, 2022


                                                     Respectfully submitted,

                                                     /s/ Shelby A. Jordan
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                                                    Copy to: cmadden@jhwclaw.com
                                                    COUNSEL FOR ALEX JONES


                                CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing document has been served via e-mail
on counsel for Debtor, Shannon & Lee, LLP and Schwartz Associates, LLC and all parties
receiving or entitled to notice through CM/ECF on November 14, 2022.


                                             /s/ Shelby A. Jordan
                                                 Shelby A. Jordan




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